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               EXHIBIT A
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Reg. No. 7,037,817           PIERCE BROTHERS GOURMET DISTRIBUTORS INC.
                              (MASSACHUSETTS CORPORATION)
Registered Apr. 25, 2023     47 SILVIO O CONTE DRIVE
Int. Cl.: 32                 Greenfield, MASSACHUSETTS 01301
                             CLASS 32: Beer; Malt beer; Brewed malt-based beers
Trademark
                             FIRST USE 9-7-2022; IN COMMERCE 9-7-2022
Principal Register
                             THE MARK CONSISTS OF STANDARD CHARACTERS WITHOUT CLAIM TO
                             ANY PARTICULAR FONT STYLE, SIZE OR COLOR

                             SER. NO. 90-632,541, FILED 04-08-2021
